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                                   Diamante Realtors

                                $109,000
                Casa Sunset Canvas , Cabo San Lucas, 23473




• Type: Residential • Style: 2 Storey • Bedrooms: 3 • Bathrooms: 2 • Half Bathrooms: 1
                                  • Size: 108 square meters


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 Details

Property Summary
 Type: Residential
 Style: 2 Storey
 Bedrooms: 3
 Bathrooms: 2
 Half Bathrooms: 1
 Garage: Double, Attached
 Size: 108 square meters
 Lot size: 168 square meters
 Has Suite: No
 Year Built: 2010
 Development Level: Built

Description
Currently a blank canvas waiting for your creativity to bring it
to life- This very well made 3 bedroom 2.5-bath house is
complemented with two spacious outdoor terraces o of the
2nd and 3rd bedrooms on the second oor. The spacious
master bedroom with walk-in closet and ensuite is on the
main oor in order to have easier access. The open concept
kitchen is complemented with a breakfast bar that opens up
into the dining and living room. There is lots of cabinet space
with the possibility of adding more and creating a small
pantry. The second oor has direct access to the spacious
outdoor terrace from which you can enjoy the warm sunny
days in Cabo having a BBQ or doing yoga. The un nished
back yard gives the perfect opportunity to build a small deck
and add a jacuzzi in a private oasis backyard. This property is
located within a gated community on the Paci c side of Cabo.
This house is located in a residential gated community where
many families have moved in and have kept up with the
maintenance, as the community is nice and clean. Many of
the homes have been personalized making the community
quite charming. More listings at WWW.BAJA-MLS.COM
              Case 1:21-cr-00411-APM Document 34-3 Filed 11/21/21 Page 3 of 3
Additional Photos




                       Information is deemed to be correct but not guaranteed.
